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                                        United States Bankruptcy Court
                                          Central District Of California
                                        3420 Twelfth Street, Riverside, CA 92501−3819

                                              DISCHARGE OF DEBTOR
    DEBTOR INFORMATION:                                                            BANKRUPTCY NO. 6:15−bk−16820−SY
    Rondell Jance Breanda
                                                                             CHAPTER 7
    Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s)., (if any): xxx−xx−3305
    Employer Tax−Identification (EIN) No(s).(if any): N/A
    Debtor Discharge Date: 10/19/15


    Address:
    77320 Florida Avenue
    Palm Desert, CA 92211


      It appearing that the debtor is entitled to a discharge, IT IS ORDERED: The debtor is granted a discharge under section 727
of title 11, United States Code, (the Bankruptcy Code). SEE THE BACK OF THIS ORDER FOR EXCEPTIONS AND OTHER
IMPORTANT INFORMATION.




                                                                                  BY THE COURT,


Dated: October 19, 2015                                                           Kathleen J. Campbell
                                                                                  Clerk of the Court




  ____________________________________________________________________________________________
* Set forth all names, including trade names, used by the debtor(s) within the last 8 years. For joint debtors, set forth the last
four digits of both social−security numbers or individual taxpayer−identification numbers.




(Form b18−DIS Rev. 12/2011) VAN−30                                                                                          12 / AUT
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                               EXPLANATION OF BANKRUPTCY DISCHARGE
                                        IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That are Not Discharged.

       Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

       a. Debts for most taxes;
       b. Debts incurred to pay nondischargeable taxes;
       c. Debts that are domestic support obligations;
       d. Debts for most student loans;
       e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;
       f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
          while intoxicated;
      g. Some debts which were not properly listed by the debtor;
      h. Debts that the bankruptcy court, under section 523 of the Bankruptcy Code or other applicable law,
          specifically has decided or will decide in this bankruptcy case are not discharged;
       i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
          compliance with the Bankruptcy Code requirements for reaffirmation of debts; and
       j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
          Plan for federal employees for certain types of loans from these plans.
        This information is only a general summary of the bankruptcy discharge. There are exceptions to these general
rules. Because the law is complicated, you may want to consult an attorney to determine the exact effect of the
discharge in this case.
